                THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         ASHEVILLE DIVISION
                   CIVIL CASE NO. 1:18-cv-00315-MR


MC1 HEALTHCARE LLC, d/b/a        )
MOUNTAINSIDE,                    )
                                 )
                    Plaintiff,   )
                                 )
      vs.                        )               PROTECTIVE ORDER
                                 )
MOUNTAINSIDE SOLUTIONS, INC., )
n/k/a MOUNTAINVIEW RECOVERY, )
INC., and MICHAEL E. ELKINS,     )
                                 )
                    Defendants.  )
________________________________ )


      Pursuant to Rule 26(c) of the Federal Rules of Civil Procedure, IT IS

HEREBY ORDERED that the following confidentiality provisions will govern

certain information, documents, and excerpts from documents supplied by

the parties to each other in response to discovery requests in this action:

      1.       Counsel for any party or third party may designate any

document or information contained in a document as “Confidential” if counsel

determines that, in good faith, such designation is necessary to protect the

interests of the client. Counsel for any party may designate any document or

information contained in a document as “Confidential Attorney Eyes Only” if

counsel determines, in good faith, that such document or information is


           Case 1:18-cv-00315-MR Document 91 Filed 10/20/20 Page 1 of 7
comprised of information that the producing party deems especially

sensitive, which may include, but is not limited to, confidential research and

development, financial, technical, marketing, or any other sensitive trade

secret information. Confidential and Confidential Attorney Eyes Only

documents and information does not include, and this Protective Order does

not apply to, information that is already in the knowledge or possession of

the party to whom disclosure is made unless that party is already bound by

agreement not to disclose such information, or information that has been

disclosed to the public or third persons in a manner making such information

no longer confidential. Information and documents designated by a party as

confidential     will   be   labeled   “CONFIDENTIAL”     or   “CONFIDENTIAL

ATTORNEY EYES ONLY.”

      2. Unless otherwise ordered by the Court, or otherwise provided for

herein, the confidential information disclosed will be held and used by the

party and their representatives and counsel receiving such information solely

for use in connection with the above-captioned action.

      3.       In the event a party challenges another party’s “Confidential

Information” or “Confidential Attorney Eyes Only” designation, counsel shall

make a good faith effort to resolve the dispute, and in the absence of a

resolution, the challenging party may thereafter seek resolution by the Court.


                                         2

           Case 1:18-cv-00315-MR Document 91 Filed 10/20/20 Page 2 of 7
Nothing in this Protective Order constitutes an admission by any party that

Confidential Information or Confidential Attorney Eyes Only information

disclosed in this case is relevant or admissible. Each party specifically

reserves the right to object to the use or admissibility of all Confidential

Information and Confidential Attorney Eyes Only information disclosed, in

accordance with applicable law.

     4.      Information or documents designated as “Confidential” shall not

be disclosed to any person except:

             a.    The requesting or receiving party and counsel;

             b.    Supporting personnel employed by outside counsel, such

                   as paralegals, legal secretaries, data entry clerks, legal

                   clerks, and private photocopying services;

             c.    Consultants or experts to the extent deemed necessary by

                   counsel;

             d.    Any person from whom testimony is taken or is to be taken,

                   except that such a person may only be shown Confidential

                   Information, of which he/she is not already knowledgeable,

                   during and in preparation for his/her testimony, after

                   signing an agreement to be bound by this Order in the form




                                       3

          Case 1:18-cv-00315-MR Document 91 Filed 10/20/20 Page 3 of 7
                   attached as Exhibit A, as specified in Paragraph 7 herein,

                   and may not retain the Confidential information; and

             e.    The Court and the jury at trial or as exhibits to motions in

                   compliance with the procedure for sealing documents

                   referred to in Paragraph 8 herein as well as LCvR 6.1.

     5.      Information or documents designated as “Confidential Attorney

Eyes Only” shall not be disclosed to any person except:

             a.    outside counsel for the requesting or receiving party;

             b.    supporting personnel employed by outside counsel, such

                   as paralegals, legal secretaries, data entry clerks, legal

                   clerks, private photocopying services;

             c.    Consultants or experts to the extent deemed necessary by

                   counsel. For the purpose of this Paragraph 5(c), an

                   independent expert or consultant may not be a current

                   employee of a party or scheduled to become an employee

                   of a party in the near future; and

             d.    persons to whom counsel for the party designating agrees

                   that the material may be disclosed; and




                                       4

          Case 1:18-cv-00315-MR Document 91 Filed 10/20/20 Page 4 of 7
              e.    the Court and the jury at trial or as exhibits to motions in

                    compliance with the procedure for sealing documents

                    referred to in Paragraph 8 herein as well as LCvR 6.1.

      6.      Prior to disclosing or displaying “Confidential” or “Confidential

Attorney Eyes Only” documents or information to any person, counsel shall:

              a.    Inform the person of the confidential nature of the

                    information or documents; and

              b.    Inform the person that this Court has enjoined the use of

                    the information or documents by him/her for any purpose

                    other than this litigation and has enjoined the disclosure of

                    that information or documents to any other person.

      7.      The Confidential or Confidential Attorney Eyes Only documents

and information may be displayed to and discussed with only the persons

identified in Paragraph 4(c), 4(d), 5(c), and 5(d) above and only on the

condition that prior to any such display or discussion, each such person shall

be asked to sign an agreement to be bound by this Order in the form attached

as Exhibit A. In the event such person refuses to sign an agreement in the

form attached as Exhibit A, the party desiring to disclose the Confidential

Information or Confidential Attorney Eyes Only information may seek

appropriate relief from this Court.


                                         5

           Case 1:18-cv-00315-MR Document 91 Filed 10/20/20 Page 5 of 7
      8.       For purposes of Paragraphs 4(c), 4(d), 4(e), 5(c), 5(d), and 5(e),

it is understood by the parties that any documents which become part of an

official proceeding or which are filed with the Court are public documents,

and that such documents and information can and will be sealed by the Court

only upon motion and in accordance with applicable law. This Protective

Order does not provide for the automatic sealing of such documents.

      9.       At the conclusion of litigation, the Confidential and Confidential

Attorney Eyes Only documents and information and any copies thereof shall

be promptly (and in no event later than thirty (30) days after entry of a final

judgment no longer subject to further appeal) returned to the producing party

or certified as destroyed.

      10.      The foregoing is entirely without prejudice to the right of any

party to apply to the Court for any further Protective Order relating to

Confidential Information; or to object to the production of documents or

information; or to apply to the Court for an order compelling production of

documents or information; or for modification of this Order.

      IT IS SO ORDERED.           Signed: October 19, 2020




                                          6

           Case 1:18-cv-00315-MR Document 91 Filed 10/20/20 Page 6 of 7
                                 Exhibit A

     I have been informed by counsel that certain documents or information

to be disclosed to me in connection with the matter captioned MC1

HEALTHCARE        LLC,   d/b/a   MOUNTAINSIDE        vs.   MOUNTAINSIDE

SOLUTIONS, INC. n/k/a MOUNTAINVIEW RECOVERY, INC., and

MICHAEL E. ELKINS, have been designated as confidential. I have been

informed that any such document or information labeled as “Confidential” or

“Confidential Attorney Eyes Only” is subject to the Joint Proposed Protective

Order entered by the Court, a copy of which has been provided to me. I

certify that I have read and understand the Order and will abide by its

provisions. Specifically, under penalty of contempt of Court, I hereby agree

that I will not disclose any documents or information designated as

“Confidential” or “Confidential Attorney Eyes Only” to any other person, and

I further agree not to use any such information for any purpose other than

my work associated with the above-referenced litigation.

DATED:__________________________

NAME:____________________________

SIGNED:___________________________

WITNESS (COUNSEL):_______________________________




                                     7

        Case 1:18-cv-00315-MR Document 91 Filed 10/20/20 Page 7 of 7
